









Dismissed and Opinion filed January 30, 2003









Dismissed and Opinion filed January 30, 2003.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-02-00751-CR

____________

&nbsp;

NEKOL LANNETTE SMITH, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 177th District Court

Harris County, Texas

Trial
Court Cause No. 891,940

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

&nbsp;








Judgment rendered
and Opinion filed January 30, 2003.

Panel consists of
Chief Justice Brister and Justices Hudson and Fowler.

Do not publish ‑
Tex. R. App. P. 47.2(b).

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